              Case 2:10-cr-00327-TLN Document 351 Filed 11/12/15 Page 1 of 3

 1 BENJAMIN B. WAGNER
   United States Attorney
 2 MICHELE BECKWITH
   Assistant United States Attorney
 3 501 I Street, Suite 10-100
   Sacramento, CA 95814
 4 Telephone: (916) 554-2700
   Facsimile: (916) 554-2900
 5
   Attorneys for Plaintiff
 6 United States of America

 7
                                 IN THE UNITED STATES DISTRICT COURT
 8
                                    EASTERN DISTRICT OF CALIFORNIA
 9

10   UNITED STATES OF AMERICA,                          CASE NO. 2:10-CR-327 TLN

11                                Plaintiff,            REQUEST FOR STATUS CONFERENCE AND
                                                        HEARING REGARDING RESTITUTION AS TO
12                          v.                          SHAUN BHAMANI AND ORDER

13   SHAUN BHAMANI,                                     DATE: January 7, 2016
                                                        TIME: 9:30 a.m.
14                               Defendant.             COURT: Hon. Troy L. Nunley
15

16          The government hereby requests a status conference and/or hearing concerning the amount of

17 restitution owed by defendant Shaun Bhamani’s in this case. After conferring with defense counsel,

18 Bruce Locke, the parties request such hearing to be set for January 7, 2016.

19          Although this Court sentenced the defendant on June 25, 2015, an order regarding the amount of

20 restitution owed by the defendant was never entered. Under the plea agreement, the defendant agreed to

21 pay $64,000 in restitution, which represents the approximate amount of money he obtained as a result of

22 his offense. Following the sentencing hearing, one of the alleged victim banks submitted a claim for

23 restitution. The government will submit this claim to the Court in a separate filing, under seal, with a

24 copy going to defense counsel.

25 ///

26 ///

27 ///

28 //
              Case 2:10-cr-00327-TLN Document 351 Filed 11/12/15 Page 2 of 3

 1          The government is submitting this claim to the Court in order to discharge its obligations to the

 2 alleged victim, and it requests a status conference/hearing so that the Court may determine a final

 3 restitution amount to be paid by Shaun Bhamani and to finalize the judgment in this case.

 4 Dated: November 10, 2015                                BENJAMIN B. WAGNER
                                                           United States Attorney
 5

 6                                                   By: /s/ Michele Beckwith
                                                         Michele Beckwith
 7                                                       Assistant United States Attorney
 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                 Case 2:10-cr-00327-TLN Document 351 Filed 11/12/15 Page 3 of 3

 1

 2

 3

 4

 5

 6

 7
                                 IN THE UNITED STATES DISTRICT COURT
 8
                                    EASTERN DISTRICT OF CALIFORNIA
 9

10   UNITED STATES OF AMERICA,

11                                Plaintiff,
                                                               Case No. 2:10-cr-327 TLN
12                          v.

13   SHAUN BHAMANI,

14                               Defendant.

15

16
            Good cause appearing, the government’s request for a status conference and hearing regarding
17
     restitution as to defendant Shaun Bhamani is hereby granted. The hearing is set for January 7, 2016, at
18
     9:30 a.m.
19
            SO ORDERED.
20

21 DATED: November 10, 2015
                                                                   Troy L. Nunley
22                                                                 United States District Judge
23

24

25

26

27

28
